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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 PARTICULAR CELL TOWERS
 PERTAINING TO A SPECIFIED                                   PM
                                                   Case No. ____________________
 LOCATION OF INTEREST THAT IS
 STORED AT A PREMISES CONTROLLED
 BY AT&T



                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


       I, Randy Larkin, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application for a warrant for records and

information associated with certain cellular towers (“cell towers”) that are in the possession,

custody, and/or control of AT&T, a cellular service provider headquartered at 11760 US

Highway 1, Suite 600, North Palm Beach, Florida 33408 (hereafter the PROVIDER). The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §

2703(c)(1)(A) to require PROVIDER to disclose to the government the information further

described in Section I of Attachment B. Upon receipt of the information described in Section I

of Attachment B, government-authorized persons will review the information to locate items

described in Section II of Attachment B.

       2.      I am a Special Agent with the FBI and have been since September 2015. I am a

“federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure

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41(a)(2)(C), that is, a government agent engaged in enforcing the criminal laws and duly

authorized by the Attorney General to request a search warrant. I am currently assigned to the

Minneapolis Division, Williston, North Dakota Resident Agency, of the FBI. I am tasked with

investigating a number of criminal offenses including the investigation of drug trafficking

organizations, complex financial crime, violent crime and assault within boundaries of Native

American Indian Reservations, and crimes against children relating to material involving the

sexual exploitation of minors. I have conducted or participated in physical and electronic

surveillance, interviewing subjects, witnesses, and victims, the execution of search warrants,

arrests, and utilizing informants for controlled narcotics purchases. I hold a master’s degree in

Information Security and Computer Technology. Through my training, education, and

experience, I have become familiar with cell phone communications and stored evidence on cell

towers.

          3.    I am submitting this affidavit in support of a search warrant authorizing a search

for the records and information, stored through the normal course of business, by the

PROVIDER to support the joint FBI and Williams County Sheriff’s Office (WCSO)

investigation of the destruction of an energy facility, namely the Wheelock Substation, in Ray,

North Dakota.

          4.    There is probable cause to believe that violations of Title 18, United States Code,

Sections 1366 and 922 (Destruction of an Energy Facility and Firearms Offenses), have been

committed, as more fully detailed herein. I am requesting authority to search the information

described in Attachment A for evidence of these offenses as further described in Attachment B.

          5.    The statements contained in this affidavit are based in part on information

provided to me from Williams County Sheriff’s Office (WCSO) detectives and other law



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enforcement officers. This affidavit is being submitted for the limited purpose of establishing

probable cause. I have not included every detail of the investigation. In addition, unless

otherwise indicated, all statements contained in this affidavit are summarized in substance and in

part.

                                      PROBABLE CAUSE

        6.     On May 13, 2023, WCSO deputies were dispatched to the Wheelock Substation,

located in Ray, North Dakota. This facility is an electric power substation and is operated by

Mountrail-Williams Electric Cooperative and Basin Electric Power Cooperative. Employees at

the substation stated they responded to the substation on May 13, in the morning, after alarms

indicated that equipment was not working. Once the employees arrived at the substation, they

found bullet holes in multiple pieces of equipment, at which time they notified law enforcement.

Law enforcement officers from the WCSO responded to the substation. The substation is

enclosed by a barbed-wire fence approximately eight feet high. Outside the fence line, law

enforcement recovered approximately five empty .450 Bushmaster cartridge cases. Law

enforcement also determined that approximately fifteen bullets penetrated and damaged

substation transformers and numerous electrical apparatuses. Outside the fence line of the

substation, law enforcement observed a spray-painted symbol of an hourglass with a circle. Open

source research indicated that this symbol was called, “The Extinction Symbol,” and was widely

used to represent the threat of climate change. As a result of the damage that the bullets caused

to the substation, approximately 243 customers lost electrical service. Based on a preliminary

assessment by the Mountrail-Williams Electric Cooperative, the damages caused by the attack

are expected to be well in excess of $100,000.




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       7.      During a canvass of the area surrounding the substation, law enforcement located

a vehicle approximately one-half mile southeast of the substation in the middle of an agricultural

field. The vehicle appeared to be stuck in the mud and was not occupied. The owner of the land

on which the vehicle was located stated, in sum and substance, the following: the vehicle was

not his; he did not know the registered owner of the vehicle; the vehicle was not there a few days

ago when he seeded his farm; and he did not want the vehicle on his property. Law enforcement

seized and entered the abandoned vehicle in an attempt to identify the owner and remove the

vehicle from the property. Inside the vehicle, law enforcement located, among other items, a pill

bottle, medical paperwork bearing the name Cameron Smith, and a black rifle case. After seeing

evidence in the vehicle that appeared to be related to the substation attack, law enforcement

discontinued the search of the vehicle and applied for a search warrant through the Williams

County State’s Attorney’s Office. Law enforcement later executed the search warrant and

completed its search of the vehicle.

       8.      Law enforcement made contact with a tow truck driver (the “Tow Truck Driver”)

in an attempt to remove the vehicle from the property. The Tow Truck Driver informed law

enforcement that, at approximately 9:45 am on May 13, 2023, the Tow Truck Driver had

responded to 119th Street Northwest, which was approximately one and one-half miles east of the

location of the abandoned vehicle to pick up an individual (later identified as Smith, as detailed

further below) who needed assistance. The Tow Truck Driver drove Smith to 121st Avenue

Northwest, approximately one-half mile south of the substation, where Smith walked east of the

roadway to a vehicle stuck in a field. Smith entered the vehicle, removed two duffel bags and a

collapsible wheeled cart, then returned to the tow truck with those items. The Tow Truck Driver

drove Smith to a local hotel in Williston, North Dakota, and the driver left Smith at the hotel. A



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few hours later, the Tow Truck Driver received a phone call from Smith from a restricted

number. Smith asked for assistance in recovering his vehicle from the field. The Tow Truck

Driver stated that he would only assist Smith if Smith provided the Tow Truck Driver with

Smith’s name and telephone number. Smith provided the Tow Truck Driver with the name

“Cam Smith” and a telephone number with a 647 area code (the “647 Cellphone”).

       9.      Law enforcement responded to the hotel and made contact with hotel staff. Hotel

staff indicated they had a guest obtain a room at the hotel earlier that morning under the name

Cameron Smith and provided law enforcement with a copy of Smith’s Canadian passport, as

well as a copy of Smith’s guest registration, on which Smith provided the hotel with the 647

Cellphone.

       10.     Law Enforcement obtained and executed a search warrant for Smith’s hotel room

and person through the Williams County State’s Attorney’s Office. Smith was detained and

transported to the Williams County Correctional Center on suspicion of Criminal Mischief. Law

enforcement located two identification cards inside Smith’s hotel room with the name “Cameron

Smith” on each identification card. Law enforcement also seized a blue in color GATEWAY

GWTC116-2BL laptop, a black in color with a leather case WINDOWS TABLET, and a wallet

containing two SIM cards.

       11.     Due to adverse weather conditions, mainly, heavy rain, law enforcement executed

the search warrant for the vehicle recovered in the field at the Williams County Sheriff’s Office

Cold Storage garage. Inside the vehicle, among other items, law enforcement located

approximately 166 live rounds of .450 Bushmaster ammunition and two muddy shoes. Law

enforcement also seized a GARMIN ETREX 22x Global Positioning System and a SAMSUNG

TABLET.



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       12.     On May 14, 2023, law enforcement was able to review the hotel’s security camera

footage to determine that Smith departed the hotel at approximately 11:50 am on May 13, 2023,

carrying two duffel bags and a collapsible wheeled cart. One bag appeared to be grey in color

with a red zipper, and the other bag appeared to be green and blue in color. Law enforcement

continued reviewing security camera footage from businesses in the area of the hotel to track

Smith’s movements. Smith was seen pacing around the parking lot and surrounding property of

a local business in Williston, North Dakota. At approximately 12:50 pm, Smith was seen on

security camera footage walking west on 42nd Street, away from the local business, carrying the

duffel bags and collapsible wheeled cart. Smith left the view of the security cameras at

approximately 12:57 pm, at which time he can be seen walking east on 42nd Street, towards the

same local business, but he was not carrying the duffel bags. Law enforcement canvassed the

area surrounding the local business. Law enforcement later obtained additional security camera

footage showing Smith walking east on 42nd Street on the north side of an apartment building.

Smith can be seen turning south into the eastern-most parking lot of the apartment building—

between an apartment building and a row of garage buildings.

       13.     Law enforcement located a dumpster on the property of the apartment building

and accessible by the public. The dumpster was located directly south of the northeastern-most

garage building. Inside the dumpster, law enforcement located a grey REI-brand duffel bag with

a red zipper and a green and blue duffel bag. Both bags located in the dumpster matched the

description of the bags that Smith was seen carrying on the hotel’s security camera footage.

Inside the grey duffel bag, law enforcement located a black .450 Bushmaster rifle bearing serial

number BK5091719 and two live rounds of .450 Bushmaster ammunition. Inside the green and

blue duffel bag, law enforcement located sixteen .450 Bushmaster rifle magazines,



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approximately 135 live rounds of .450 Bushmaster ammunition, a 9mm Sig Sauer pistol bearing

serial number 58C012701, four pistol magazines for the Sig Sauer pistol, and approximately 104

live rounds of 9mm ammunition.

       14.     Law enforcement conducted an additional canvas of the area in which Smith’s

vehicle was recovered. Law enforcement located tire tracks through the fields between 119th

Avenue Northwest and the location in which Smith’s vehicle was recovered. Law enforcement

also located footprints on the ground between where Smith’s vehicle was recovered and 119th

Avenue Northwest, indicating an eastern direction of travel, towards 119th Avenue Northwest.

       15.     On May 15, 2023, an FBI Special Agent spoke via telephone with a Deportation

Officer from the United States Immigration and Customs Enforcement (“Officer-1”). Officer-1

attempted to perform an immigration inspection of Smith. During the immigration inspection of

Smith, Smith admitted that he and his parents are citizens of Canada. Smith refused to say when

he last entered the United States. Officer-1 queried databases and found no evidence that Smith

had legally entered the United States since last departing the United States in 2018, in which he

traveled from Portland, Oregon, to Vancouver, British Columbia, Canada, via Amtrack train.

Officer-1 also found no evidence that Smith had any applications or petitions pending or

approved before the United States Citizenship and Immigration Services, or that Smith had

applied for a visa through the United States Department of Homeland Security to enter the

United States legally. Immigration officials have placed a detainer on Smith alleging that he is

removable due to his status as unlawfully present in the United States.

       16.     From training and experience, I know that the PROVIDER’s retention period for

tower dump information is over a year and as such there was not a necessity to send a

preservation request to the PROVIDER.



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       17.     From training and experience, I know that the PROVIDER keeps certain types of

data, particularly, precision location data, referred to as NELOS or LOCDBOR. Precision

location data are business records kept by the PROVIDER, which generate location event data

via probes on the mobile network. Specifically, the PROVIDER determines an estimated

location based on proprietary algorithms developed by the PROVIDER’s research. The

PROVIDER also keeps records for any time that a mobile device makes a direct communication

with the PROVIDER’s network such as voice, SMS (text), and data sessions for mobile devices.

These records will show the IMSI, which is unique to the SIM card, and the IMEI, which is

unique to the device such as phone or tablet.

       18.     Law enforcement has learned that Smith uses a telephone number with a 647 area

code. That phone was not recovered from either the crime scene, hotel room, or vehicle.

       19.     From training and experience, I know that individuals generally carry one or more

cell phones with them on their person. I know that it is a common practice for individuals

engaging in criminal activity to throw phones away, buy new phones, or buy new SIM cards to

put into phones, all to avoid detection by law enforcement. Since multiple SIM cards were found

in Smith’s wallet from the hotel room, there is probable cause to believe that Smith has, or at

some point had a cell phone. Additionally, the tablets recovered from Smith’s vehicle and hotel

room have the capability of connecting to wireless or cellular networks and have unique

identifiers, further described below.

       20.     The National Domestic Communications Assistance Center (NDCAC) is a

partnership between the FBI and federal, state, and local law enforcement. The purpose of

NDCAC is to assist with technology and knowledge regarding communication services,

technologies, and electronic surveillance. NDCAC has a portal that law enforcement officers can



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access. One of the functions of the portal is called the cell site database. With the cell site

database, law enforcement officers can input a point of interest, namely the crime scene, and

select a provider to view the towers within a certain radius of the crime scene.

       21.     Your Affiant performed a lookup of the towers serving the address of the crime

scene, 6381 121st Ave NW, Ray, North Dakota, 58849. Using a search radius of 10 miles,

multiple cell towers associated with Verizon, AT&T, and T-Mobile were in the area.

       22.     I know from training and experience that based on the geography of the area

around the crime scene, namely rural, flat, and without significant tree or building cover, it is

possible for a cell site in North Dakota to provide service to a phone located up to 10 miles from

a cell tower. I personally have analyzed historical cell site records and observed connections with

estimated timing advance distances of up to 22 miles.

       23.     Law enforcement expects that throughout the course of the investigation, new

unique identifiers such as phone numbers and unique devices will be associated with Smith.

Having all of the connected devices within the specific timeframe and specific area where there

is probable cause to believe Smith committed the criminal activity will allow investigators to

continuously check for presence of those devices in the data.

       24.     The information requested by this warrant is not intended to be over broad or to

cause an undue invasion of privacy. Attachment A requests a 4-hour time frame, in a rural area,

in the middle of the night. The information will not contain any content of communications or

any names of subscribers to specific phone numbers. The information will provide law

enforcement with a repository of all of the electronic devices in the area with the capability to

connect to a cellular network. If the investigation reveals that Smith was working with any other




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individuals that were in the area at the time of the crime, those devices would also be captured by

the tower dump information.

        25.     In my training and experience, I have learned that PROVIDER is a company that

provides cellular communications service to the general public. In order to provide this service,

many cellular service providers maintain antenna towers (“cell towers”) that serve and provide

cellular service to devices that are within range of the tower’s signals. Each cell tower receives

signals from wireless devices, such as cellular phones, in its general vicinity. By communicating

with a cell tower, a wireless device can transmit and receive communications, such as phone

calls, text messages, and other data. When sending or receiving communications, a cellular

device does not always utilize the cell tower that is closest to it.

        26.     Based upon my training and experience, I also know that each cellular device is

identified by one or more unique identifiers. For example, with respect to a cellular phone, the

phone will be assigned both a unique telephone number but also one or more other identifiers

such as an Electronic Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a

Mobile Identification Number (“MIN”), a Subscriber Identity Module (“SIM”), a Mobile

Subscriber Integrated Services Digital Network Number (“MSISDN”), an International Mobile

Subscriber Identifier (“IMSI”), an International Mobile Equipment Identity (“IMEI”), a

Subscription Permanent Identifier (“SUPI”), and/or a Network Access Identifier (“NAI”). The

types of identifiers assigned to a given cellular device are dependent on the device and the

cellular network on which it operates.

        27.     Based on my training and experience, I know that cellular providers, such as the

PROVIDER, routinely and in their regular course of business maintain historical records that

allow them to determine which wireless devices used cellular towers on the cellular provider’s



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network to send or receive communications. For each communication sent or received via the

wireless provider’s network, these records may include: (1) the telephone call number and

unique identifiers of the wireless device that connected to the provider’s cellular tower and sent

or received the communication (“the locally served wireless device”); (2) the cellular tower(s) on

the provider’s network, as well as the “sector” (i.e., face of the tower), to which the locally

served wireless device connected when sending or receiving the communication; and (3) the

date, time, and duration of the communication.

       28.     In my training and experience, I am aware that PROVIDER possesses the

capability to conduct a search of a predefined area and produce a record which identifies all

mobile devices where a derived latitude and longitude coordinate falls within the search area.

       29.     Based on my training and experience and the above facts, information obtained

from cellular service providers such as PROVIDER that reveals which devices used a particular

cell tower (and, where applicable, sector) to engage in particular communications can be used to

show that such devices were in the general vicinity of the cell tower at the time the

communication occurred. Thus, the records described in Attachment A will identify the cellular

devices that were in the vicinity of the location further identified in Attachment A, specifically,

6381 121st Ave NW, Ray, North Dakota, 58849, for the time period of 5/12/2023, 10:00 PM

through 5/13/2023, 02:00 AM CDT. This information, in turn, will assist law enforcement in

determining which person(s) were present at the target location during the timeframes specified

in Attachment A.

       30.     The government will utilize various methods to analyze the data produced by

PROVIDER in an effort to isolate mobile devices of interest while attempting to mitigate any

undue invasion of privacy to innocent third parties. These analysis techniques include



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identifying devices that are common to two or more locations, isolating devices that are unique

to an area specific to the date and time of the crime, or other methodologies in an effort to

identify the device or devices which correspond to the known fact patterns of the investigation.

                                         CONCLUSION


       31.     I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the devices described in Attachment A to seek the items

described in Attachment B.

                                              Respectfully Submitted,




                                              _________________________________________
                                              Randy Larkin
                                              Special Agent
                                              Federal Bureau of Investigation


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